                    UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF TEXAS


United States of America

versus                                                Case Number: 2:20−cr−00837

Siva Brown



                                Notice of Resetting

A proceeding has been reset in this case as to Siva Brown as set forth below.

BEFORE:
Judge Drew B Tipton
PLACE:


United States Courthouse
1133 N. Shoreline Blvd.
Corpus Christi, TX 78401


DATE: 9/17/2020
TIME: 02:00 PM
TYPE OF PROCEEDING: Final Pretrial Conference


Date: August 25, 2020                                        David J. Bradley, Clerk
